                 UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION


                            )
SANDRA M. PETERS, on behalf of
                            )
herself and all others similarly situated,
                            )
                            )
              Plaintiff,    )                         Case No. 1:15-cv-00109-MR
  v.                        )
                            )
AETNA INC., AETNA LIFE      )
INSURANCE COMPANY, and      )
OPTUMHEALTH CARE SOLUTIONS, )
INC.,                       )
                            )
              Defendants.   )
                            )

                    OPTUM’S RESPONSE TO FILINGS BY
                   PLAINTIFF AND AETNA DEFENDANTS

      In its December 6 status report, Class Counsel and Aetna wrote: “The day after

the Court’s November 7 Order, a draft term sheet was circulated among all parties.

Unfortunately, for the first time, on the evening of December 2, it became clear that

Optum’s understanding of one of the negotiated terms was inconsistent with the

understanding of the Settling Parties.” Dkt. 312 at 1–2.

      Optum writes to correct the record:

            On November 6, Optum received written confirmation from both Class

             Counsel and counsel for Aetna that the settlement would “include a

             release of all claims against [Optum] and any related entity.”



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             Following circulation of the draft term sheet, Optum’s counsel provided

              edits to Aetna’s counsel on November 11, reflecting a full release of all

              claims against Optum.

             Aetna’s counsel provided the revised language reflecting a full release—

              along with other changes—to Class Counsel on November 25.

             Class Counsel rejected that proposed language on November 27.

             Following discussions on December 2, Optum learned for the first time

              that Class Counsel would not agree to full release.

      Class Counsel also suggests in its “response” that Optum failed to satisfy its meet

and confer obligations. See Dkt. 315 at 2. That is incorrect. Optum’s counsel asked Class

Counsel if the Classes would consent to briefing summary judgment before a bench

trial. Class Counsel stated that they oppose. Optum’s submission reflects the Classes’

opposition.



Dated: December 9, 2024.


                                                Respectfully submitted,


                                                /s/ Brian D. Boone
                                                Brian D. Boone
                                                 NC Bar No. 38910
                                                Michael R. Hoernlein
                                                 NC Bar No. 40419
                                                Brandon C.E. Springer


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                                   OptumHealth Care Solutions, Inc.




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                          CERTIFICATE OF SERVICE
      I hereby certify that on this 9th day of December 2024, a copy of the foregoing

was electronically filed with the clerk of the court of the United States District Court,

Western District of North Carolina, Asheville Division, and will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing (NEF).


                                               /s/ Brian D. Boone
                                               Brian D. Boone
                                                 NC Bar No. 38910

                                               Counsel for Defendant
                                               OptumHealth Care Solutions, Inc.




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